 1   Patrick T. Derksen (State Bar I.D. No. 023178)
     WITTHOFT DERKSEN, P.C.
 2   3550 North Central Avenue, Suite 1006
     Phoenix, Arizona 85012
 3   Telephone: (602) 680-7332
     Facsimile: (602) 357-7476
 4   Email: pderksen@wdlawpc.com
 5   Attorneys for Trustee, Jill H. Ford
 6                             UNITED STATES BANKRUPTCY COURT
 7                                       DISTRICT OF ARIZONA
 8   In re:                                           )   Chapter 7
                                                      )
 9
     ENSO STEEL COMPANY, LLC,                         )   Case No. 2:19-bk-14149-BKM
10                                                    )
                    Debtor.                           )   NOTICE OF TRUSTEE’S SALE
11                                                    )
                                                          (25% INTEREST IN GREAT WESTERN
12                                                    )   STEEL, LLC)
                                                      )
13
14          NOTICE IS HEREBY GIVEN, pursuant to Section 363 of the United States Bankruptcy
15   Code, Bankruptcy Rule 6004 and Local Bankruptcy Rule 6004-1, that property belonging to the
     estate of the above-named debtor will be sold to the person making the highest and best offer on
16   July 30, 2021, at 8:30 a.m. (Phoenix time). The sale will be conducted telephonically only.
17   Bidders may participate in the sale by connecting to a conference call at the foregoing date and
     time. The conference call may be accessed by calling: (310) 372-7549, wait for the prompt, then
18   enter access code 831482 and then press #.
19
              Property to be sold: The estate’s 25% interest in Great Western Steel, LLC (“Entity
20                                 Interest”). See, Docket No. 38 at p. 2. Great Western Steel, LLC
                                   owns 100% of GWS Trading, LLC. GWS Trading, LLC holds title
21
                                   to approximately 161 acres of real property with a purported address
22                                 of 16906 Hwy 5 North in Logansport, Louisiana (“Louisiana
                                   Property”). A further description of the Louisiana Property is
23                                 attached hereto as Exhibit A and incorporated herein by this
24                                 reference.
25            Terms of Sale:      Cashier’s check within 3 days of sale, payable to “Jill H. Ford,
26                                Trustee.” The sale is “AS IS, WHERE IS” without any
                                  representations or warranties of any kind or nature. The sale is
                                  subject to all liens, claims and interests, including, but not limited to,


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 1                               the rights of any co-owner, co-holder and any restrictions which may
                                 be imposed by an applicable agreements or laws. The Trustee does
 2
                                 not know of any liens against the Entity Interest at this time. The
 3                               Trustee is not aware of a recent appraisal of the property. Interested
                                 parties are expected to conduct their own due diligence.
 4
                                 All sales are subject to Trustee’s final approval. The property to be
 5
                                 sold will be conveyed by an Assignment executed by the Trustee.
 6
                                 The Trustee may establish minimum bidding intervals at the sale in
 7                               the Trustee’s discretion. All bidders will be held strictly liable for
                                 any bid submitted. Each party that places a bid shall provide their
 8
                                 name, e-mail and phone upon placing their initial bid. If a party
 9                               other than the current buyer is the highest bidder and does not close
                                 the sale, the Trustee reserves the right to proceed to the next highest
10                               bid received and close with that bidder, which will be reflected in the
11                               report of sale to be filed by the Trustee.
12          To:                  William Reeser and/or assignee.
13
            Purchase Price:      $500.00, or any person making a higher and better offer. The
14                               contemplated sale is subject to higher and better bids. The property
15                               to be sold will be offered to the person making the highest bid at the
                                 sale.
16
17          Inquiries:           Contact the Trustee’s counsel, Patrick T. Derksen, Witthoft Derksen,
                                 P.C., 3550 N. Central Ave., Suite 1006, Phoenix, AZ 85012.
18                               Telephone: (602) 774-3555. E-mail: pderksen@wdlawpc.com
19
            The prospective buyer is not an insider. All sales are subject to sales tax unless the
20   property being sold is tax exempt or a resale number is used as proof of exemption.
21          The proceeds from the sale of the property shall be paid directly to the Trustee and
     retained by the estate. The bankruptcy estate is the only entity known or believed to hold
22   interests in the property to be sold. No compensation will be paid from the sale proceeds. The
23   Trustee is not aware of a formal appraisal of the property to be sold. No motion for stay relief
     has been filed with respect to the property to be sold.
24
              Any person opposing the sale shall file a written objection with the Clerk of the U.S.
25   Bankruptcy Court, 230 N. First Ave., Suite 101, Phoenix, AZ 85003 and mailed to the
     Trustee’s counsel, Patrick T. Derksen, Witthoft Derksen, P.C., 3550 N. Central Ave., Suite
26   1006, Phoenix, AZ 85012. Any such objection must be filed and served within 21 days of the
     date of this Notice. If a person timely objects in writing and a hearing is requested but has not
     yet been conducted by the scheduled sale date, bids will still be taken and the sales procedure

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 1   followed. The closing of the sale will be dependent upon the outcome of the Court hearing on
     the objection.
 2
 3
           Dated: June 15, 2021.             WITTHOFT DERKSEN, P.C.
 4
 5                                           By /s/ Patrick T. Derksen          #023178
 6                                             Patrick T. Derksen
                                               Attorneys for the Trustee, Jill H. Ford
 7
 8   THIS SALE NOTICE WAS MAILED TO ALL INDIVIDUALS ON THE DISTRICT OF
     ARIZONA BANKRUPTCY COURT’S MATRIX MAILING LIST BY THE
 9   BANKRUPTCY COURT NOTICING CENTER.
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                          Exhibit A

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  Desoto Parish - Tax Notice Inquiry
  8/19/2017 6:13:19 PM

Tax Notice# 20986
Tax Year 2016
Taxpayer
GWS TRADING, LLC
C/O ADAIR ASSET MANAGEMENT, LLC/BMO
C/O BMO **
P.O. BOX ****
MINNEAPOLIS MN *****-****




  Taxes    Interest Cost     Other     Paid    Balance
  60,918.000.00     200.32   0.00      61,118.320.00



  Legal
  BEG AT PT N 00 DEG 14 MIN 50 SECONDS W
  1145.05 FT FR SW COR SEC 23 T12 R16
  ON E/R/W/L LA HWY 5, TH S 89 DEG 46 MIN 14
  SECONDS E 1716.23 FT & ON SAME
  COURSE 125.98 FT, FOR TOTAL OF 1842.21 FT
  ON E/B/L SOUTHERN PACIFIC RR R/W,
  TH N 31 DEG 03 MIN 46 SECONDS E WITH E/B/L
  R/W 1536.82 FT, TH N 00 DEG
  19 MIN 11 SECONDS E BEING SE COR SE NW
  SEC 23 & ON SAME COURSE 1320 FT,
  FOR TOTAL OF 1541.64 FT TO NE COR SE NW
  SEC 23, TH N 00 DEG 23 MIN 00
  SECONDS E 924.66 FT, TH S 89 DEG 35 MIN 40
  SECONDS W ON E/R/W LA HWY 5
  1326.13 FT & ON SAME COURSE 54.11 FT, FOR
  TOTAL OF 1380.24 FT TO PT IN C/L
  HWY, TH WITH C/L S 21 DEG 02 MIN 06
  SECONDS W 2359.06, TH S 16 DEG 56 MIN
  45 SECONDS W 1013.59 FT, S 16 DEG 50 MIN 12
  SECONDS W 443.13 FT TO W/L
  SEC 23, TH WITH W/L, S 00 DEG 16 MIN 14
  SECONDS E 169.98 FT TO BEG, CONT 1
  167.133A, LESS 1A IN SW NW SEC 23, LEAVING
  166.133A (552-899)(559-706)
  LESS 4.431A MORE OR LESS (806-139)


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  LEAVING 161.702 ACRES (902-58)(1225-511,529)
  SOLD 1% INT. @ PARISH TAX SALE MAY 14,
  2014 FOR 2013 PARISH TAXES (TO) LA
  PROPERTY ACQUISITION & MANAGEMENT,
  L.L.C. (1252-237) SOLD 100% INT. @ PARISH
  TAX SALE MAY 13, 2015 FOR 2014 PARISH
  TAXES (TO) ADAIR ASSET MANAGEMENT,
  L.L.C./BMO
  (1273-700).



  Parcels
   Parcel#            Address      % Tax

   0801163680                      100.0000



  History
   Date         Description          Amount

   10/14/2016 ORIGINAL TAXES         54,727.05

   2/2/2017     CERTIFIED FEES       14.32

   4/11/2017    AD FEES              6.00

   4/25/2017    AD FEES              6.00

   5/10/2017    DEED FEE             65.00

   5/10/2017    TAX SALE             22.00
                RECORDING FEE

   5/22/2017    REDEMPTION FEE       65.00

   5/22/2017    REDEMPTION           22.00
                RECORDING FEE

   5/22/2017    REDEMPTION           -54,927.37
                PAYMENT 2016

   5/22/2017    INTEREST CHARGE      6,190.95
                2016

   5/22/2017    INTEREST PAYMENT     -6,190.95
                2016




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  Items
   Class          Value    Units   Homestead

   09 SUBURBAN    16,200   162.00 0
   LAND

   40 MFG.        463,904 1.00     0
   PLANTS




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